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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


 ROW VAUGHN WELLS, INDIVIDUALLY               )
 AND AS ADMINISTRATRIX OF THE                 )
 ESTATE OF TYRE DEANDRE NICHOLS,              )
 DECEASED,                                    )
                                              )
          Plaintiffs,                         )
                                              )
 v.                                           )     CASE NO. 2:23-CV-02224
                                              )     JURY DEMAND
 THE CITY OF MEMPHIS, A                       )
 MUNICIPALITY; CHIEF CERELYN DAVIS,           )
 IN HER OFFICIAL CAPACITY; EMMITT             )
 MARTIN III, IN HIS INDIVIDUAL                )
 CAPACITY; DEMETRIUS HALEY, IN HIS            )
 INDIVIDUAL CAPACITY; JUSTIN SMITH,           )
 IN HIS INDIVIDUAL CAPACITY;                  )
 DESMOND MILLS, JR. IN HIS INDIVIDUAL         )
 CAPACITY; TADARRIUS BEAN, IN HIS             )
 INDIVIDUAL CAPACITY; PRESTON                 )
 HEMPHILL, IN HIS INDIVIDUAL                  )
 CAPACITY; ROBERT LONG, IN HIS                )
 INDIVIDUAL CAPACITY; JAMICHAEL               )
 SANDRIDGE, IN HIS INDIVIDUAL                 )
 CAPACITY; MICHELLE WHITAKER, IN              )
 HER INDIVIDUAL CAPACITY; DEWAYNE             )
 SMITH, IN HIS INDIVIDUAL CAPACITY            )
 AND AS AGENT OF THE CITY OF                  )
 MEMPHIS,
                                              )
          Defendants.                         )


  REPLY IN SUPPORT OF MOTION TO DISMISS OF THE CITY OF MEMPHIS,
 CHIEF CERELYN DAVIS IN HER OFFICIAL CAPACITY, AND DEWAYNE SMITH
                      AS AN AGENT OF THE CITY




                                          1

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          Defendants the City of Memphis (“the City”), Chief Cerelyn Davis in her Official

Capacity (“Chief Davis”), and Dewayne Smith as Agent of the City of Memphis (“Lt. Smith”) 1

(collectively, “the City Defendants”), submit this Reply in Support of their Motion to Dismiss

(ECF No. 81.)

I.        INTRODUCTION
          The City supports the Plaintiff in Plaintiff’s action against Defendants Emmitt Martin III

(“Martin”), Demetrius Haley (“Haley”), Justin Smith (“J. Smith”), Desmond Mills, Jr. (“Mills”),

and Tadarrius Bean (“Bean”) (collectively, “Defendant Officers”), who are undeniably the

parties responsible for Tyre Nichols’s (“Mr. Nichols”) death.

          Plaintiff, however, also filed Monell claims against the City. Plaintiff’s allegations

against the City in support of those Monell claims are wholly insufficient to state a claim under

Rule 8. Plaintiff’s Monell claims depend on several implausible and conclusory allegations such

as: “Chief Davis instructed SCORPION Officers to focus on an all-out strategy of seizing

property from Memphis citizens in complete disregard of the United States Constitution and the

Fourth Amendment” (Compl., ECF No. 1, ¶ 81); “Chief Davis instructed the SCORPION Unit

and advocated to stop citizens and deprive them of their property unconstitutionally….” (id., ¶

82); and Chief Davis and other supervisors encouraged officers “to engage in searches and

seizures when there was no basis to do so in violation of the Fourth Amendment.” (Id., ¶ 88.)

          These implausible and conclusory leaps are a bridge too far. Not only is it not plausible

that Chief Davis instructed her officers to intentionally and willfully violate the constitutional

rights of Memphis citizens, it is even less plausible that Chief Davis did so when—if the Court

accepts Plaintiff’s allegations as true—Chief Davis had firsthand knowledge of the ramifications

of such constitutional violations through her past experiences in Atlanta. This is not plausible.


1
    The City does not represent or respond on behalf of Lt. Smith in his individual capacity.
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         The Court need not accept as true that Chief Davis intentionally created a copy of a

failed unit that was disbanded because of constitutional violations,2 nor must it accept as true

the implausible, conclusory assertions that Chief Davis’s policy was to deprive citizens of their

constitutional rights. With these implausible allegations, Plaintiff’s Complaint strains—and

fails— to support the Monell claims against the City.

         For these reasons and the additional reasons below, Plaintiff’s causes of action against the

City should be dismissed.

II.      PLAINTIFF FAILED TO REHABILITATE THE MONELL CLAIMS AGAINST
         THE CITY
         Plausibility is the lens through which the Court should evaluate—and dispense of—

Plaintiff’s allegations supporting the Monell claims. This Court recently recognized that premise

and stated: “[i]f a court, relying on its judicial experience and common sense, determines that the

claim is not plausible, the case may be dismissed at the pleading stage.” Griham v. City of

Memphis, Tennessee, No. 2:21-CV-02506-MSN, 2022 WL 989175, at *1 (W.D. Tenn. Mar. 31,

2022) (citing Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)).“‘[O]nly a complaint that states a

plausible claim for relief survives a motion to dismiss.” Id. (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 556 (2007)).

         “The complaint will be found plausible on its face only when ‘the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.’” Id. (citing Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 556). “While a

complaint need not include detailed factual allegations, a plaintiff's “[t]hreadbare recitals of the


2
 Moreover, it stretches the bounds of relevance and materiality to allege that a former unit of a
police department in another city— that has not been in existence for at least twelve years—
has any relevance to this lawsuit. The City has moved to strike the allegations regarding the RED
DOG unit in its Motion to Strike (ECF No. 82), and the City incorporates the arguments in the
briefing thereto herein.

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elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id.

(citing Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 556) (emphasis added)). “‘[T]he factual

allegations need not be overly detailed, but nor can they merely recite the elements of a cause of

action and make a ‘the-defendant-did-it’ allegation.’” Id. (quoting Siefert v. Hamilton Cnty., 951

F.3d 753, 759 (6th Cir. 2020) (emphasis added)).

         Plaintiff’s allegations supporting the Monell claims are either implausible on their face

and/or “mere conclusory statements,” neither of which suffice to state a claim upon which relief

can be granted.

         A.      Plaintiff’s Response Failed to Rehabilitate the Claim for Unlawful Custom of
                 Tolerance under Monell.
         Plaintiff asks this Court to accept as true a litany of implausible allegations in support of

the custom of tolerance claim, which include, but are not limited to, that “Chief Davis instructed

SCORPION Officers to focus on an all-out strategy of seizing property from Memphis citizens in

complete disregard of the United States Constitution and the Fourth Amendment.” (Compl., ECF

No. 1, ¶ 81); “Chief Davis instructed the SCORPION Unit and advocated to stop citizens and

deprive them of their property unconstitutionally….” (id., ¶ 82); and Chief Davis and supervisors

encouraged officers “to engage in searches and seizures when there was no basis to do so in

violation of the Fourth Amendment.” (Id., ¶ 88.)

         Plaintiff concludes that the City maintained “a custom of tolerance for SCORPION

Officers’ unreasonable search and seizure of individuals, use of excessive force, 3 and—more




3
 Plaintiff mistakenly asserts that the City has no written policy on the use of force in its 15-
Chapter Policy and Procedures manual found at https://memphispolice.org/wp-
content/uploads/2023/06/2023_MPD_POLICY_AND_PROCEDURES_FULL_6-27-2023.pdf.
(Response, ECF No. 94, PageID 810, n. 4.) Not so. See Chapter II, Section 8: Response to
Resistance, which is an entire chapter dedicated the use of force.
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generally—the violation of the Fourth Amendment.” (Response, ECF No. 94, PageID 810 (citing

Compl., ECF No. 1, ¶ 314).)

         These “allegations” and “mere conclusory statements,” as this Court noted, “do not

suffice” to state a sufficient claim against the City. Griham, 2022 WL 989175, at *1.

         Moreover, Plaintiff’s custom of tolerance Monell claim depends on the implausible

allegation that Chief Davis “first designed, ordered, and endorsed [these unconstitutional]

policies for SCORPION officers;” and because she designed, ordered, and endorsed these

practices, the City obviously had notice of the unconstitutional polices, or so the argument goes.

(ECF No. 94, PageID 809.) But this implausible, circular pleading is not enough to sustain a

custom of tolerance claim in the Sixth Circuit.

         It is well settled that “a ‘custom’ can give rise to municipal liability when the ‘practice is

so widespread as to have the force of law.’” Id. at *2 (citing North v. Cuyahoga Cnty., 754 F.

App'x 380, 386 (6th Cir. 2018)). However, Plaintiff’s conclusory and implausible allegations do

not support Plaintiff’s theory that MPD had a widespread custom of constitutional deprivations.

         This Court’s ruling in Griham is directly on point. In Griham, the Court dismissed the

plaintiff’s custom of tolerance claims against the City based on the conclusory allegations that

the City sanctioned eleven customs that triggered liability under Monell including:

         (1) Using unreasonable and excessive force to carry out detentions and/or arrests.
         (2) Arbitrarily using arrests when they are not necessary or permitted by law.
         (3) Ignoring the serious need for training and supervision of its Officers regarding
         its policies and procedures when conducting detentions and/or arrests.
         (4) Failing to adequately supervise and/or observe its Officers.
         (5) Failing to adequately train Officers regarding the availability of alternative
         means other than the use of arrests, force, or excessive force without probable
         cause.
         (6) Failing to discharge Officers who have shown a pattern or practice of falsely
         arresting citizens.

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         (7) Failing to exclude Officers who have shown a pattern or practice of
         misbehavior and using excessive force from taking part in the execution of
         warrants.
         (8) Failing to adequately screen Officers who have shown a pattern or practice of
         using excessive force before hiring said officer.
         (9) Failing to inform future employer of Officers who have shown a pattern or
         practice of using excessive force when future employer has inquired;
         (10) Failing to discharge Officers who have shown a pattern or practice of using
         excessive force; and
         (11) Adopting a practice whereby Officers who are unfit for peace Officer duties,
         as shown by prior actions in the line of duty, are allowed to retain their positions.
Griham, 2022 WL 989175 at *4.

         This Court found that the plaintiffs’ allegations in (1), (2), and (11) lacked sufficient facts

to show the City had a “fixed plan of action” that manifested as a practice with “the force of

law.” Id. (citations omitted). See also Birgs v. City of Memphis, 686 F. Supp. 2d 776, 780 (W.D.

Tenn. 2010) (dismissing complaint under Rule 12(b)(6) because it “contain[ed] no facts that

could plausibly lead one to believe that the City deliberately ignored a history of abuse by

officers in the Memphis Police Department.”)).

         Here, just as in Griham, Plaintiff’s allegations lack sufficient factual basis to establish

that the City had a fixed plan of action that manifested as a practice with the force of law.

         Not only are Plaintiff’s custom of tolerance allegations implausible and unsupported by

factual allegations, but they are also deficient because they do not allege how or when the City

was on notice of these alleged unlawful activities. To demonstrate that a municipality follows a

“custom of tolerance” or inaction toward constitutional harm, the Sixth Circuit “require[s]

plaintiffs to show (1) a ‘clear and persistent pattern’ of misconduct, (2) notice or constructive

notice on the part of the municipality, (3) the defendant's tacit approval of the misconduct, and

(4) a direct causal link to the violations.” Nouri v. Cnty. of Oakland, 615 F. App'x 291, 296 (6th



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Cir. 2015) (emphasis added). See also Sanders v. City of Memphis, Tennessee, No.

221CV02585MSNCGC, 2022 WL 4665867, at *5 (W.D. Tenn. Sept. 30, 2022).

         Here, even if Plaintiff sufficiently and plausibly pled that the City had a fixed plan of

unconstitutional action that manifested with the force of law regarding the SCORPION Unit—

which she did not— Plaintiff failed to sufficiently plead that the City had any notice of those

alleged constitutional deprivations. 4 While true that Plaintiff presented nine individuals who

eventually complained about improper conduct by SCORPION offices, Plaintiff does not allege

that any of those individuals complained of that conduct before the incident giving rise to the

lawsuit. For example, the lawsuit filed by Monterrious Harris referenced in Paragraph 105(a)(vi)

of the Complaint, was filed on February 7, 2023—a month after the incident giving rise to this

lawsuit. See Harris v. City of Memphis, et. al., Case No. 2:23-cv-02058 (W.D. Tenn. Feb. 7,

2023).

         Regarding Cornell Walker (Compl., ¶ 105(b)), Plaintiff alleges that Mr. Walker called

MPD to complain about his January 3, 2023 encounter with SCORPION, but he does not allege

when Mr. Walker called to complain. Plaintiff’s allegations regarding Maurice Chalmers-Stokes,

Sebastian Johnson, Kendrick Johnson Ray, Davitus Collier, Damecio Wilbourn, Romello

Hendrix, and Johnny Graham (Compl., ¶ 105(c)-(f)), similarly omit the critical fact of when (or

if) any of those aggrieved persons notified MPD or the City of their alleged unconstitutional

encounters with SCORPION officers prior to the incident giving rise to the lawsuit. If those




4
 Plaintiff’s reference to the U.S. Department of Justice’s recently announced “Pattern or Practice
Investigation of the City of Memphis and the Memphis Police Department” does not move the
needle for Plaintiff. Not only did Plaintiff not plead the DOJ investigation in the Complaint,
Plaintiff could not plead it in support of the notice element because that announcement was made
on July 27, 2023, approximately seven months after the incident giving rise to this lawsuit.

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persons did, in fact, give notice to MPD of their encounters prior to the incident giving rise to the

lawsuit, Plaintiff certainly could have provided those dates in the Response; but Plaintiff did not.

         Seemingly conceding that actual notice was never received, Plaintiff asserts that “surely

Defendants were aware of all these incidents,” (Response, ECF No. 94, PageID 811 (italicized

emphasis in original)). Plaintiff then asks the Court to infer that the City had notice of these

incidents prior to the incident giving rise to the lawsuit. (Id. at PageID 814.) Plaintiff cites no

authority to support this request for such an inference at the motion to dismiss stage. 5 Instead,

Plaintiff points to Jackson v. City of Cleveland, where, contrary to Plaintiff’s assertion, the

district court did not infer that the City of Cleveland must have been aware of the custom of

tolerance of constitutional violations. In Jackson, the district court relied on ten pages of

plaintiff’s allegations that contained specific reports and documentation from 1966, 1973,

1974, and 1975, to sustain plaintiff’s custom of tolerance claim and to deny the motion to

dismiss. Jackson v. City of Cleveland, 622 F. Supp. 3d 636, 639 (N.D. Ohio 2022) (emphasis

added). In this case, Plaintiff did not plead any such prior reports or notice.



5
  Plaintiff cites to several cases that do not stand for this proposition. (See Response, ECF No.
94, PageID 814-15, and n. 4.) Alkire v. Irving, 330 F.3d 802 (6th Cir. 2003) involved a motion
for summary judgment, and the court did not evaluate the sufficiency of the pleadings. Leach v.
Shelby Cnty. Sheriff, 891 F.2d 1241 (6th Cir. 1989) was an appeal of a judgment following a
bench trial, and the court did not evaluate the complaint for sufficiency. The remaining cases
cited by Plaintiff in Note 4 are not Sixth Circuit cases, nor do they stand for the proposition that
notice need not be specifically pleaded. For example, in Fields v. King, 576 F.Supp.3d 392, 410
(S.D. WV 2021), the plaintiff pled several incidents of complaints lodged and lawsuits filed
regarding the defendant officer that put the sheriff and the commission on notice of his conduct.
In Tirado v. City of Minneapolis, 521 F.Supp.3d 833, 841-843 (D. Minn. 2021), the plaintiff
alleged how and when the City of Minneapolis became aware of the specific incidents through
broad reporting by news outlets, the City's own social media monitoring efforts, and direct
outreach by media. In Est. of Osuna v. Cnty. of Stanislaus, 392 F. Supp. 3d 1162, 1173 (E.D.
Cal. 2019), plaintiffs pointed to numerous prior cases in which defendants were either found
liable or agreed to pay a substantial monetary sum to resolve excessive use of force claims
brought against them. In Barnes v. City of El Paso, 2023 WL 4097075 at *8 (W.D. TX, June 12,
2023), the plaintiff alleged that the police department received approximately “259–349
complaints of excessive force” in 2014.
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         The law in this Circuit is clear that a plaintiff must allege notice on the part of the

municipality to sustain a claim of custom of inaction towards constitutional violations. See

Nouri, 615 Fed. Appx. at 296. Plaintiff failed to do so, and the custom of tolerance claims must

be dismissed.

         B.      Plaintiff Failed to Plausibly Plead an “Official Policy Claim.”
         Plaintiff concedes that Complaint does not describe an actual, stated official policy of the

Memphis Police Department (“MPD”) authorizing the conduct giving rise to this lawsuit. (See

Response, ECF No. 94, PageID 802-804.) Instead, Plaintiff asserts that the “official policy” was,

in fact, Chief Davis’s “actions and decisions” as “the City’s final decisionmaker” that became

the official policy on which Plaintiff bases the official policy claim. Id.

         Plaintiff’s reliance on Pembaur v. City of Cincinnati in support of the official policy

claim is off base. (Id. at PageID 802.) In Pembaur, the issue involved a specific instruction

given by the County Prosecutor to two Deputy Sheriffs to commit a specific unconstitutional act,

which was to forcibly enter petitioner’s clinic to “go in and get [the witnesses who failed to

appear for the grand jury]” without a warrant. Pembaur, 475 U.S. 469, 473 (1986).

         Here, Plaintiff does not allege that Chief Davis’s creation of SCORPION was itself, an

unconstitutional act. Instead, Plaintiff baldly—and generally—asserts that Chief Davis

instructed the officers in her command to routinely and regularly violate the constitution.

Plaintiff does not present one fact to support that conclusory allegation. Such baseless and

unsupported allegations are unlike the explicit unconstitutional mandate given by the County

Prosecutor in Pembaur to commit the specific unconstitutional act of entering the premises

without a warrant. Plaintiff’s allegations regarding Chief Davis’s directives are nothing more

than “mere conclusory statements” unsupported by any factual allegations at all.

         None of the cases cited by Plaintiff in support of her official policy claim are persuasive.


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Plaintiff cites to a line of cases where the plaintiff alleged a specific act on the part of the

policymaker that deprived the plaintiff of his or her civil rights as summarized below:

         •       The Sheriff beat and tasered an inmate after a verbal altercation; and after the assault,
                 the Sheriff placed the inmate in an isolated, padded holding cell that had no running
                 water or facilities of any kind for four days. Wright v. Fentress Cnty., Tennessee, 313
                 F. Supp. 3d 886, 887-88 (M.D. Tenn. 2018).

         •       The Chief of Police enforced an unconstitutional criminal statute by arresting the
                 publisher and editor of a newspaper that published unflattering news articles about the
                 police department. Cooper v. Dillon, 403 F.3d 1208, 1223 (11th Cir. 2005);

         •       The Chief of Police personally participated in an allegedly unlawful raid of the
                 plaintiff’s home. Greer v. City of Highland Park, 2016 WL 4206008, at *2 (E.D.
                 Mich. Aug. 10, 2016);

         •       The Chief of Police allegedly approved video surveillance in the women's locker
                 room. Gillespie v. City of Battle Creek, 100 F.Supp.3d 623, 630 (W.D. Mich. 2015);

         •       The Sheriff allegedly struck plaintiff and ordered the arrest of 100 people at an
                 underage drinking party, Holloran v. Duncan, 92 F.Supp.3d 774, 786 (W.D. Tenn.
                 2015);

         •       The Sheriff terminated plaintiff’s employment allegedly in retaliation for supporting
                 his opponent, Arredondo v. Flores, 2006 WL 2459460, at *3 (S.D. Tex. Aug. 22,
                 2006).
         Here, unlike the cases cited above, Plaintiff does not allege any plausible specific act on

the part of Chief Davis that could give rise to Monell liability under this “specific act” theory.

         The other two cases cited by Plaintiff in support of the official policy claim are

unavailing. In Boykins v. Trinity, Inc., 2021 WL 2156196 (E.D. Mich. May 27, 2021), the

plaintiff specifically alleged that:

         1) [Detroit Public Schools Community District] “denie[s] access to an open
         school upon arrival and require[s] ... children [with special needs] to wait and
         remain on [their] school bus” until “DPSCD [is] ready to receive [them],” and that
         2) DPSCD transports special-needs students in standard school busses rather than
         in accordance with their specific needs. (Am. Compl. ¶¶ 40, 91).
Id. at *3. The district court found that the plaintiff sufficiently alleged that the school district had

official policies requiring that special-needs students be transported in busses that did not



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conform with their individual needs and remain on board until a teacher could escort them to

class. Id.

         Plaintiff’s reliance on Hernden v. Chippewa Valley Schools is similarly unavailing. In

Hernden, the district court found that the plaintiff plausibly alleged claims under the First

Amendment pursuant to 42 U.S.C. § 1983 against school board members and the school district

for their alleged acts of retaliation. The plaintiff, a police officer who had complained about the

school district’s COVID policies, specifically alleged that a schoolboard member emailed her

supervisor challenging plaintiff’s conduct as unbecoming a police officer. The plaintiff also

alleged that the school board president emailed the DOJ with a complaint about the plaintiff’s

behavior, telling the DOJ that its assistance would be appreciated by “our board,” speaking in the

first-person plural voice, signing the email as the Board's president, and sharing the email with

the Board after he sent it. Hernden v. Chippewa Valley Sch., No. 22-CV-12313, 2023 WL

4140819, at *2, *4 (E.D. Mich. June 22, 2023). The district court found it plausible that the

email at issue reflected a collective decision of the Board, which was sufficient to sustain a claim

against the school district at the pleadings stage. Id. at *4.

         Unlike in Boykins, where the school district clearly had policies regarding the

transportation of children with special needs, and in Hernden, where the school board clearly

ratified an email to the DOJ maligning the plaintiff, here Plaintiff cannot point to any plausible

official policy of MPD that supports the official policy claim.

         Plaintiff attempts to “back into” an official policy claim by first noting that Mr. Nichols

was tragically killed by the Defendant Officers, and then asserting that the Defendant Officers

must have been acting under an official policy of MPD. (See Compl., ECF No. 1, ¶ 305 (“Tyre

Nichols’ injuries and death were a direct, foreseeable, and proximate result of Chief Davis’

authorization to SCORPION Officers to disregard and violate the Constitutional and Fourth

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Amendment rights of Memphis citizens.”)). This type of “the-defendant-did-it” allegation cannot

support Plaintiff’s official policy claim. See Griham, 2022 WL 989175, at *1.

         Plaintiff’s official policy claim should be dismissed.

         C.      Plaintiff’s Failure-to-Train and Failure-to-Supervise claims are not
                 sufficiently pleaded.
                 1.      The failure-to-train claim fails under both the “pattern” theory and
                         the “single violation” theory.
                         a)      Plaintiff failed to allege prior instances of unconstitutional
                                 conduct demonstrating that the City ignored a history of abuse
                                 and was clearly on notice that the training in any particular
                                 area was deficient and likely to cause injury.
         The Complaint fails to state a failure-to-train claim under the “pattern” theory because

Plaintiff failed to sufficiently plead that the City was on notice that the training was deficient.

Plaintiff points to eleven specific areas in which Plaintiff asserts that the City failed to train

SCORPION Officers: Terry stops; reasonable articulable suspicion; probable cause; traffic stops;

foot pursuits; the Fourth Amendment; the use of force; the use of batons; the use of tasers; the

use of pepper spray; and the use of deadly force. (Compl, ¶ 135.) But simply naming areas where

Plaintiff believes training was insufficient will not suffice. “[P]laintiff must ‘show prior

instances of unconstitutional conduct demonstrating that the [City] has ignored a history of abuse

and was clearly on notice that the training in this particular area was deficient and likely to cause

injury,” i.e. “deliberate indifference.” Griham, 2022 WL 989175, at *2 (quoting Fisher v.

Hardin, 398 F.3d 837, 849 (6th Cir. 2005) (emphasis added).

         Plaintiff failed to do so. Here again Plaintiff relies on the allegations of the nine

individuals listed in Paragraph 105 of the Complaint in support of the failure-to-train claim. But

as previously noted, Plaintiff failed to plead that Defendants had any notice of any of those

alleged instances prior to the incident giving rise to the lawsuit. Accordingly, Plaintiff’s failure-

to-train claim must be dismissed.


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                         b)      Plaintiff failed to sufficiently plead a failure-to-train claim
                                 under the “single violation” theory.
          Because Plaintiff has not sufficiently identified any other constitutional violations to

support the “pattern” theory of failure-to-train, Plaintiff must sufficiently and plausibly plead that

the single violation (Mr. Nichols’s death) was caused by MPD’s inadequate training of

SCORPION for the tasks performed; the inadequacy was the result of the City’s deliberate

indifference; and the inadequacy was closely related to or actually caused the injury.” See Ellis v.

Cleveland Mun. Sch. Dist., 455 F.3d 690, 700 (6th Cir. 2006) (citing Russo v. City of Cincinnati,

953 F.2d 1036, 1046 (6th Cir. 1992)) (emphasis added).

          For the “single violation” theory, the issue is whether, “in light of the duties assigned to

specific officers or employees[,] the need for more or different training is so obvious, and the

inadequacy so likely to result in a violation of constitutional rights, that the policymakers of the

city can reasonably be said to have been deliberately indifferent to the need.” City of Canton,

Ohio v. Harris, 489 U.S. 378, 390 (1989) (emphasis added). Plaintiff can only establish “

‘deliberate indifference’ to the rights of its inhabitants,” by showing “ ‘a deliberate choice to

follow a course of action [that] is made from among various alternatives’ by city policymakers.”

Id. at 389 (quoting Pembaur, 475 U.S. at 483–84).

          While “a single violation, ‘accompanied by a showing that a municipality has failed to

train its employees to handle recurring situations presenting an obvious potential for such a

violation, could trigger municipal liability.’ ” Bonner-Turner v. City of Ecorse, 627 F. App'x

400, 414 (6th Cir. 2015), “mere allegations that an officer was improperly trained or that an

injury could have been avoided with better training are insufficient to make out deliberate

indifference.” Harvey v. Campbell Cnty., 453 F. App'x 557, 563 (6th Cir. 2011) (emphasis

added).



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         A “single violation” claim “is available only ‘in a narrow range of circumstances,’

where a federal rights violation ‘may be a highly predictable consequence of a failure to equip

[employees] with specific tools to handle recurring situations.’” Helphenstine v. Lewis Cnty.,

Kentucky, 60 F.4th 305, 323 (6th Cir. 2023) (quoting Board of Cnty. Comm'rs of Bryan Cnty. v.

Brown, 520 U.S. 397, 409 (1997) (emphasis added). See also City of Canton, 489 U.S. at 390–

91 (“That a particular officer may be unsatisfactorily trained will not alone suffice to fasten

liability on the city, for the officer's shortcomings may have resulted from factors other than a

faulty training program.”). “Virtually every § 1983 plaintiff ‘will be able to point to something

the city ‘could have done’ to prevent” the harm giving rise to his or her claim.’” Humphrey v.

Friar, No. 217CV02741SHLDKV, 2018 WL 8807154, at *9 (W.D. Tenn. Sept. 28, 2018),

judgment entered, No. 217CV02741SHLDKV, 2018 WL 8807151 (W.D. Tenn. Oct. 29, 2018),

and aff'd in part, rev'd in part and remanded, 792 F. App'x 395 (6th Cir. 2020) (quoting City of

Canton, 489 U.S. at 392). However, that will not support a “single violation” claim.

         In Humphrey, this Court dismissed the plaintiff’s “single violation” failure-to-train claim,

in part, because refraining from the conduct giving rise to that claim—i.e., a police officer

sexually abusing minor children—"is so obvious that even if [Millington] were silent about such

conduct, it would not give rise to a constitutional violation on Millington's part.” Id. at *15

(citing Campbell v. Anderson Cnty., 695 F. Supp. 2d 764, 774 (E.D. Tenn. 2010)).

         Here, just as in Humphrey, refraining from the conduct giving rise to the claim—i.e.,

brutally beating a detainee to death—is so obvious that even if the City was silent about such

conduct (which, of course it is not 6), it does not give rise to a constitutional violation.




6
 As noted in Note 5 supra, MPD has policies on the use of force and response to resistance. The
Court may also take judicial notice of the City’s website dedicated to promoting MPD’s policy
of restrictive use of force. https://reimagine.memphistn.gov/, last visited Aug. 23, 2023.
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         The only plausible reading of the Complaint is that the conduct by the Defendant Officers

with respect to Mr. Nichols as pled by Plaintiff was intentional, criminal conduct that no amount

of training could have prevented, including that the five Defendant Officers “brutally beat Tyre

Nichols” (Compl., ¶ 204), … took turns punching and kicking Tyre in his face and midsection

(id., ¶ 205); … and that for approximately seven minutes straight Defendant Officers punched,

kicked pepper sprayed, and struck Tyre with a baton.” (Id., ¶ 208.)

         For these reasons, Plaintiff’s failure-to-train claim fails under both the “pattern” and

“single violation” theories.

                 2.     Plaintiff fails to sufficiently plead a failure to supervise claim.
         Plaintiff’s failure to supervise claim fares no better. The Sixth Circuit has “called this

failure-to-supervise theory a ‘rare’ ‘specimen’ that sits somewhere between the claim that a

municipality had a policy of failing to train its employees and the claim that it had a policy of

acquiescing in their misconduct.” Lopez v. Foerster, No. 20-2258, 2022 WL 910575, at *7 (6th

Cir. Mar. 29, 2022) (quoting Mize v. Tedford, 375 F. App'x 497, 500 (6th Cir. 2010)).

         Furthermore, the Sixth Circuit has held that “infer[ring] a municipal-wide policy based

solely on one instance of potential misconduct” would turn “the municipal liability standard into

a simple respondeat superior standard,” a result precluded by Supreme Court. Thomas v. City of

Chattanooga, 398 F.3d 426, 432–33 (6th Cir. 2005) (citing Bryan Cnty., 520 U.S. at 409, 117

S.Ct. 1382; Monell, 436 U.S. at 694, 98 S.Ct. 2018).

         Thus, the allegation of one instance of faulty supervision, without more, is insufficient to

state a plausible claim that inadequate supervision “can justifiably be said to represent city

policy.” Sweat v. Butler, 90 F. Supp. 3d 773, 782–83 (W.D. Tenn. 2015) (citation omitted). See

also Minick v. Metro. Gov't of Nashville, No. 3:12–CV–0524, 2014 WL 3817116, at *2 (M.D.

Tenn. Aug. 4, 2014) (“In numerous cases, courts ... have found that boilerplate allegations


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premised on a single incident of alleged police brutality—i.e., the incident that caused the

plaintiff's injury—are insufficient to state a municipal liability claim, thereby justifying dismissal

under Rule 12(b)(6).”).

         Here, Plaintiff’s failure-to-supervise claim turns on the deliberate-indifference element.

That element asks whether the alleged constitutional violation “was a ‘known or obvious

consequence’” of the inadequate supervision of the employee who committed the violation.

Gambrel, 25 F.4th at 408 (quoting Connick, 563 U.S. at 61).

         To survive the Motion to Dismiss under Plaintiff’s “pattern” violation theory, Plaintiff

must show a pattern of similar constitutional violations to the one that the Plaintiff alleges in the

case at hand, and that the City was on notice of those violations. See Burgess v. Fischer, 735

F.3d 462, 478 (6th Cir. 2013). If a municipality's decisionmakers lack notice that their

supervision has led to constitutional violations in the past, it is difficult to establish that they

should have known of the risk. Lopez, 2022 WL 910575, at *7.

         For all the same reasons Plaintiff failed to sufficiently plead a failure-to-train claim under

the pattern theory, Plaintiff similarly fails to plead a failure-to-supervise claim under the pattern

theory. Plaintiff did not provide one instance where the City had notice of the alleged

constitutional violations of the SCORPION Unit prior to the incident giving rise to this lawsuit.

         Turning to Plaintiff’s “single violation” theory, that claim, too, must fail. Plaintiff can

only establish the critical “deliberate indifference” element under the “single violation” theory

“if it should have been obvious to the municipality that the lack of supervision would lead to the

constitutional violation.” Lopez, 2022 WL 910575, at *7. See also Canton, 489 U.S. at 390.

         The issue is whether, “in light of the duties assigned to specific officers or employees[,]

the need for more or different training is so obvious, and the inadequacy so likely to result in a

violation of constitutional rights, that the policymakers of the city can reasonably be said to have

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been deliberately indifferent to the need.” Canton, 489 U.S. at 390 (emphasis added).

         Plaintiff’s allegations fail to establish that it was so obvious to MPD that the lack of

supervision of the SCORPION officers that evening would ultimately lead to the beating death of

Mr. Nichols by the Defendant Officers. Plaintiff acknowledges that at least five officers were

present during the beating of Mr. Nichols, and none of them attempted to diffuse the situation.

(See, e.g., Compl., ECF No. 1, ¶ 221.) It is, therefore, not an obvious conclusion that the

addition of one more officer (even a supervisor) at the scene that night would have had any effect

on the Defendant Officers’ conduct or the ultimate, tragic outcome.

         This is supported by the fact that the Defendant Officers were filming the entire incident

on their body worn cameras. (“When Tyre fell to the ground, he was lifted back up so that

officers could continue to tee-off with more punches, strikes, kicks, and chemical sprays—all of

this with full knowledge that their body-worn cameras were recording every second.” (Compl. at

PageID 4) (emphasis added).)

          If the Defendant Officers’ knowledge that their actions were being filmed did not give

them pause, it is not likely—certainly not obvious—that a supervisor’s presence on the scene

would have done so.

         In short, Plaintiff seeks to hold the City responsible for the egregious criminal and

tortious acts of the five Officer Defendants, which amounts to the application of “the very

strict respondeat superior liability rejected by the Supreme Court in Monell and its progeny.”

Griham, 2022 WL 989175, at *6 (quotations and citations omitted). Accordingly, the Court

should dismiss Plaintiff’s failure-to-supervise claim.

                 3.     Plaintiff’s negligent hiring/promoting claims are insufficient under
                        the law.
         To prevail on a claim of inadequate hiring/screening, Plaintiff must show that adequate

scrutiny of the officers’ background would have led a reasonable policymaker to conclude that

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the plainly obvious consequence of hiring those officers would be the deprivation of a

constitutional right. Bd. of Cnty. Comm'rs of Bryan Cnty. v. Brown, 520 U.S. 397, 411, 117 S.Ct.

1382 (1997). Plaintiff did not do so. The only “red flags” alleged by Plaintiff prior to their hiring

was that Defendant Martin was arrested on at least one occasion before joining MPD (Compl., ¶

116(a)(i)); and that Defendant Haley “was accused of viciously beating an inmate while he was

employed as a Shelby County Correctional Officer.” (Compl., ¶ 116(b)(i)). But there are no

allegations that this accusation was true.

         These threadbare allegations would not have led a reasonable policymaker to conclude

that the plainly obvious consequence of hiring those officers would be the deprivation of a

constitutional right.

         The same is true of Plaintiff’s allegations regarding the Defendant Officers’ selection to

the SCORPION Unit, which included failing to fill out response to resistance forms, damaging

equipment, and failing physical fitness exams. (Compl., ¶ 116.) None of those allegations

plausibly could have led the City to conclude that the plainly obvious consequence of placing

the Defendant Officers on the SCORPION Unit would ultimately result in the deprivation of a

constitutional right.

         D.      Plaintiff abandoned the official capacity claims against Chief Davis and Lt.
                 Smith by failing to substantively address the City’s arguments.
         Plaintiff did not address City Defendants’ argument that Plaintiff’s claims against Chief

Davis and Lt. Smith are redundant and superfluous, but instead summarily stated that “Chief

Davis was properly named in the lawsuit in her official capacity.” (ECF No. 94, PageID 827.)

         Thus, Plaintiff abandoned the “official capacity claims” by failing to address them in the

Response brief. See, e.g. Doe v. Bredesen, 507 F.3d 998, 1007 (6th Cir. 2007) (“[Plaintiff]

abandoned those claims by failing to raise them in his brief opposing the government's motion to

dismiss the complaint”); Kines v. Ford Motor Co., No. 119CV01054JDBJAY, 2020 WL

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5550396, at *5, n. 6 (W.D. Tenn. Sept. 16, 2020) (concluding that plaintiffs abandoned a claim

by not addressing it in their response to defendants’ dispositive motion).

         Accordingly, the official capacity claims against Chief Davis and Lt. Smith as an Agent

of the City should be dismissed.

         To the extent that Plaintiff seeks leave to amend the Complaint to assert claims against

Chief Davis individually (ECF No. 94, PageID 827) without filing a motion under Rule 15, the

City asks the Court to deny that procedurally improper request. “[A] request for leave to amend,

almost as an aside, to the district court in a memorandum in opposition to the defendant's motion

to dismiss is not a motion to amend.” Pulte Homes, Inc. v. Laborers’ Int'l Union of N. Am., 648

F.3d 295, 305 (6th Cir. 2011). See also Begala v. PNC Bank, 214 F.3d 776, 784 (6th Cir. 2000)

(finding that an amendment request in a brief opposing a Rule 12 motion does not constitute a

proper motion).

         E.      Plaintiff’s negligent infliction of emotional distress claim is barred by
                 Tennessee’s Governmental Tort Liability Act (“GTLA”).
         Plaintiff’s negligent infliction of emotional distress (“NIED”) claim is barred by the

GTLA no matter what Plaintiff calls the claim. First, Plaintiff does not plead facts to support

negligence in the Complaint. There are no allegations that Lt. Smith was negligent, but rather

that he was intentionally misleading.

         Furthermore, Plaintiff’s framing of the NIED claim in the Response does not rehabilitate

the claim, and, in fact, further illustrates that what Plaintiff pleaded was indeed a fraudulent

misrepresentation claim couched as an NIED claim. Plaintiff states:

         Lt. Smith did not participate in the beating of Tyre, but following the incident
         walked the 100 yards to Tyre’s home. Dkt 1, ¶ 263. Fully aware of Tyre’s
         condition nearby, Lt. Smith told Plaintiff that that her son was intoxicated and was
         being arrested for a DUI. Id. at ¶¶ 261-265. When Plaintiff asked Lt. Smith for
         information on her son, Smith lied to her by stating that Tyre would be going to
         jail after receiving medical care and he could be picked up there. Id. at ¶ 272. Lt.
         Smith knew that Tyre Nichols would not be transported to jail because he was

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         nearly dead. Id. at ¶ 281.

(Response, ECF No. 91, PageID 858 (emphasis added)).

         Plaintiff’s allegations are one of fraudulent misrepresentation. Plaintiff alleges that Lt.

Smith made a materially false representation as to Mr. Nichols’ condition that he knew was false

when he made it because he was “fully aware” of Mr. Nichols’ condition and “knew that Tyre

Nichols would not be transported to jail because he was nearly dead.” (Response, ECF No. 91,

PageID 858.) Further, Plaintiff must have reasonably relied on the false misrepresentation

because according to the Complaint, it resulted in damages in the form of emotional distress.

(See Compl., ECF No. 1, ¶¶ 851, 852.)

         Even if the NIED claim is not considered to be a claim for fraudulent misrepresentation,

it is clearly a claim of deceit, which is specifically listed as an intentional tort for which the City

retains immunity. See Tenn. Code Ann. § 29-20-205(2) (the “intentional tort exception,” which

bars claims for injuries arising out of “[f]alse imprisonment pursuant to a mittimus from a court,

false arrest, malicious prosecution, intentional trespass, abuse of process, libel, slander, deceit,

interference with contract rights, infliction of mental anguish, invasion of right of privacy, or

civil rights”).

          Based on the allegations in Plaintiff’s Complaint and Response to the City’s Motion to

Dismiss, Lt. Smith “lied” with “knowledge” that his statement was allegedly false when he made

it. Indeed, the act of lying about a material fact of the nature Plaintiff alleges is itself not a

negligent act but an intentional tort (i.e., deceit) for which immunity is not removed under the

GTLA.

         Moreover, the GTLA provides immunity to the City from claims for injuries arising from

“misrepresentation by an employee whether or not such is negligent or intentional.” Tenn.

Code Ann. § 29–20–205(6) (emphasis added). See, e.g., Holder v. Shelby Cnty., No. W2014-

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01910-COA-R3CV, 2015 WL 1828015, at *4 (Tenn. Ct. App. Apr. 21, 2015) (finding that

governmental immunity was not removed when the plaintiff characterized the defendant

deputy’s actions as negligence, but specifically alleged that the deputy intentionally falsified a

log book); Carero-Tate v. City of Knoxville, No. 3:03-CV-214, 2005 WL 8162572, at *4 (E.D.

Tenn. Apr. 5, 2005) (citing Tenn. Code Ann. 29 -20-205(6) and explaining that immunity is still

provided to the governmental authority notwithstanding the claim of employee negligence if the

issue was a negligent or intentional misrepresentation).

         Plaintiff cannot circumvent the immunity provided by the GTLA by couching a

misrepresentation claim as one of NIED. Allowing Plaintiff’s claim to proceed under the guise of

NIED would render the immunity the GTLA affords municipalities for intentional torts and

misrepresentations by its employees meaningless. As such, the Court should dismiss Plaintiff’s

NIED claim.

         F.        Plaintiff also abandoned the state law claims against the City for intentional
                   infliction of emotional distress and fraudulent misrepresentation.
         Plaintiff also abandoned the state law claims for intentional infliction of emotional

distress and fraudulent misrepresentation against the City (and Lt. Smith as an Agent for the

City) by failing to address them in the Response to Motion to Dismiss. (See generally,

Response.)

                                           CONCLUSION
         For these reasons, the City respectfully requests this Court to grant its Motion to Dismiss

in its entirety.




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                                                     Respectfully submitted,

                                                     BAKER, DONELSON, BEARMAN,
                                                     CALDWELL & BERKOWITZ, P.C.


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                                                     Chief Cerelyn Davis in her Official Capacity



                                CERTIFICATE OF SERVICE

         I, Bruce McMullen, hereby certify that on August 25, 2023, I electronically filed the

foregoing with the clerk of the court by using the CM/ECF system, and that upon filing, such

system will serve a copy of the foregoing upon all counsel of record in this action.


                                                     s/ Bruce McMullen
                                                     Bruce McMullen




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